               Case 2:19-cr-00213-RSM Document 45 Filed 09/18/20 Page 1 of 4




 1
 2
 3
 4
 5
 6
                             UNITED STATES DISTRICT COURT FOR THE
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9
      UNITED STATES OF AMERICA,                        No. CR19-213-RSM
10
                                 Plaintiff,
11                                                     PRELIMINARY
                           v.                          ORDER OF FORFEITURE
12
13    PHILIP B. GILBERT,
14                              Defendant.
15
16
17          THIS MATTER comes before the Court on the United States’ Motion for Entry of
18 a Preliminary Order of Forfeiture (“Motion”) seeking to forfeit, to the United States,
19 Defendant Philip Gilbert’s interest in the following property:
20            1.     Asus laptop computer bearing serial number HZN0CV03R266069; and
21            2.     Seagate external hard drive bearing serial number NA7G69SW.
22          The Court, having reviewed the United States’ Motion, as well as the other papers
23 and pleadings filed in this matter, hereby FINDS that entry of a Preliminary Order of
24 Forfeiture is appropriate because:
25            •     The above-identified property is forfeitable pursuant to 18 U.S.C. § 2253(a),
26                  as it is comprised of prohibited images or property used to commit or to
27                  promote commission of the offense of Possession of Child Pornography, in
28                  violation of 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2); and,
     Preliminary Order of Forfeiture - 1                                   UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     U.S. v. Gilbert, CR19-213-RSM
                                                                           SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
                 Case 2:19-cr-00213-RSM Document 45 Filed 09/18/20 Page 2 of 4




 1            •     Pursuant to the Plea Agreement he entered on June 22, 2020, the Defendant
 2                  agreed to forfeit the above-identified property, which is subject to forfeiture
 3                  pursuant to 18 U.S.C. § 2253(a). Dkt. No. 38, ¶ 11.
 4
 5          NOW, THEREFORE, THE COURT ORDERS:
 6          1.       Pursuant to 18 U.S.C. § 2253(a), and his Plea Agreement, the Defendant’s
 7 interest in the above-identified property is fully and finally forfeited, in its entirety, to the
 8 United States;
 9          2.       Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A)-(B), this Preliminary Order will
10 be final as to the Defendant at the time he is sentenced, it will be made part of the
11 sentence, and it will be included in the judgment;
12          3.       The United States Department of Homeland Security, and/or its authorized
13 agents or representatives (“HSI”), shall maintain the electronic equipment in its custody
14 and control until further order of this Court. HSI shall destroy any images unless they
15 have been destroyed already or will be retained for official, investigative use, as
16 permitted by 21 U.S.C. §§ 853(i) and 881(e);
17          4.       Pursuant to Fed. R. Crim. P. 32.2(b)(6) and 21 U.S.C. § 853(n), the
18 United States shall publish notice of this Preliminary Order and its intent to dispose of the
19 property as permitted by governing law. The notice shall be posted on an official
20 government website—www.forfeiture.gov—for at least thirty (30) days. For any person
21 known to have alleged an interest in the property, the United States shall also, to the
22 extent possible, provide direct written notice to that person. The notice shall state that any
23 person, other than the Defendant, who has or claims a legal interest in the above
24 electronics must file a petition with the Court within sixty (60) days of the first day of
25 publication of the notice (which is thirty (30) days from the last day of publication), or
26 within thirty (30) days of receipt of direct written notice, whichever is earlier. The notice
27 shall advise all interested persons that the petition:
28
     Preliminary Order of Forfeiture - 2                                     UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     U.S. v. Gilbert, CR19-213-RSM
                                                                             SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
                 Case 2:19-cr-00213-RSM Document 45 Filed 09/18/20 Page 3 of 4




 1                   a.       shall be for a hearing to adjudicate the validity of the petitioner’s
 2                            alleged interest in the electronics;

 3                   b.       shall be signed by the petitioner under penalty of perjury; and
 4                   c.       shall set forth the nature and extent of the petitioner’s right, title, or
 5                            interest in the electronics, as well as any facts supporting the
                              petitioner’s claim and the specific relief sought.
 6
 7          5.       If no third-party petition is filed within the allowable time period, the
 8 United States shall have clear title to the electronics, and this Preliminary Order shall
 9 become the Final Order of Forfeiture as provided by Fed. R. Crim. P. 32.2(c)(2);
10          6.       If a third-party petition is filed, upon a showing that discovery is necessary
11 to resolve factual issues presented by that petition, discovery may be conducted in
12 accordance with the Federal Rules of Civil Procedure before any hearing on the petition
13 is held. Following adjudication of any third-party petitions, the Court will enter a Final
14 Order of Forfeiture, pursuant to Fed. R. Crim. P. 32.2(c)(2) and 21 U.S.C. § 853(n),
15 reflecting that adjudication; and
16          7.       The Court will retain jurisdiction for the purpose of enforcing this
17 Preliminary Order, adjudicating any third-party petitions, entering a Final Order of
18 Forfeiture, and amending the Preliminary Order or Final Order as necessary pursuant to
19 Fed. R. Crim. P. 32.2(e).
20          IT IS SO ORDERED.
21          DATED this 18th day of September, 2020.
22
23
24
25
                                                    A
                                                    RICARDO S. MARTINEZ
                                                    CHIEF UNITED STATES DISTRICT JUDGE
26
27
28
     Preliminary Order of Forfeiture - 3                                         UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
     U.S. v. Gilbert, CR19-213-RSM
                                                                                 SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
               Case 2:19-cr-00213-RSM Document 45 Filed 09/18/20 Page 4 of 4




 1
 2
     Presented by:
 3
 4
   s/Krista K. Bush
 5 KRISTA K. BUSH
   Assistant United States Attorney
 6
   United States Attorney’s Office
 7 700 Stewart St., Suite 5220
   Seattle, WA 98101
 8
   (206) 553-2242
 9 Krista.Bush@usdoj.gov
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Preliminary Order of Forfeiture - 4                         UNITED STATES ATTORNEY
                                                                700 STEWART STREET, SUITE 5220
     U.S. v. Gilbert, CR19-213-RSM
                                                                 SEATTLE, WASHINGTON 98101
                                                                        (206) 553-7970
